   20-01010-jlg        Doc 12-1       Filed 06/25/20 Entered 06/25/20 23:05:40           Notice of
                                           Hearing Pg 1 of 3


TOGUT, SEGAL & SEGAL LLP                                       HEARING DATE: 7/21/2020 at 11:00 A.M.
One Penn Plaza, Suite 3335                                OBJECTION DEADLINE: 7/14/2020 at 4:00 P.M.
New York, New York 10119
(212) 594-5000
Frank A. Oswald
Jared C. Borriello

Attorneys for Arie Genger

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
                                                               :
In re:                                                         :   Chapter 7
                                                               :
ORLY GENGER,                                                   :   Case No. 19-13895 (JLG)
                                                               :
                                    Debtor.                    :
                                                               :
---------------------------------------------------------------X
DALIA GENGER,                                                  :
                                                               :
                                    Plaintiff,                 :
                                                               :
         v.                                                    :   Adv. Pro. No. 20-01010 (JLG)
                                                               :
ORLY GENGER, MICHAEL BOWEN, ARIE                               :
GENGER, ARNOLD BROSER, DAVID                                   :
BROSER, ERIC HERSCHMANN, THE                                   :
GENGER LITIGATION TRUST, ADBG LLC,                             :
TEDCO INC., and DEBORAH PIAZZA as                              :
Chapter 7 Trustee,                                             :
                                                               :
                                    Defendants.                :
---------------------------------------------------------------X

            NOTICE OF HEARING TO CONSIDER VARIOUS DEFENDANTS’
           MOTION TO DISMISS DALIA GENGER’S AMENDED COMPLAINT

TO THE HONORABLE JAMES L. GARRITY, JR.,
UNITED STATES BANKRUPTCY JUDGE:

                 PLEASE TAKE NOTICE that a hearing will be held before the Honorable

James L. Garrity, Jr., United States Bankruptcy Judge, on July 21, 2020 at 11:00 a.m. (EST) at

the United States Bankruptcy Court for the Southern District of New York (the “Bankruptcy
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                                      Hearing Pg 2 of 3



Court”), One Bowling Green, New York, New York 10004, or as soon thereafter as counsel can

be heard, to consider the attached Various Defendants’ Motion to Dismiss Dalia Genger’s

Amended Complaint (the “Motion”).

               PLEASE TAKE FURTHER NOTICE that responses or objections, if any, to the

Motion must be made in writing, stating in detail the reasons therefore, and must be filed with the

Clerk of the Bankruptcy Court, with paper copies delivered to Bankruptcy Judge Garrity’s

Chambers, and served upon: (i) Togut, Segal & Segal LLP, attorneys for Arie Genger, One Penn

Plaza, Suite 3335, New York, New York 10119, Attn: Frank A. Oswald, Esq. and Jared C.

Borriello, Esq. (frankoswald@teamtogut.com and jborriello@teamtogut.com); (ii) Law Office of

Ira Daniel Tokayer, attorney for Dalia Genger, 420 Lexington Avenue, Suite 2400, New York,

NY 10171, Attn: Ira Daniel Tokayer, Esq. (imtoke@mindspring.com); (iii) Tarter Krinsky &

Drogin LLP, attorneys for the Chapter 7 Trustee, 1350 Broadway, 11th Floor, New York, NY,

Attn: Deborah J. Piazza, Esq. and Rocco A. Cavaliere, Esq. (dpiazza@tarterkrinsky.com and

rcavaliere@tarterkrinsky.com); (iv) Reitler Kailas & Rosenblatt LLC, attorneys for Debtor Orly

Genger, 885 Third Avenue, 20th Floor, New York, NY 10022, Attn: Yann Geron, Esq. and Julie

B. Wlodinguer, Esq. (ygeron@reitlerlaw.com and jwlodinguer@reitlerlaw.com); (v) Hughes

Hubbard & Reed LLP, Attorneys for Arnold Broser, David Broser, ADBG LLC, and TEDCO,

Inc., One Battery Park Plaza, New York, NY 10004, Attn: Christopher Gartman, Esq. and

Christopher K. Kiplok, Esq. (chris.gartman@hugheshubbard.com and

chris.kiplok@hugheshubbard.com); and (vi) any parties required to be served under any

applicable Bankruptcy Rule or Local Rule, so that they are actually received by the

aforementioned parties not later than 4:00 p.m. (EST) on July 14, 2020 (the “Objection

Deadline”). Responses or objections not timely served and filed may not considered by the Court.




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                                     Hearing Pg 3 of 3



              PLEASE TAKE FURTHER NOTICE that the hearing to consider the Motion

may be adjourned from time to time, without further written notice to any party.

Dated:   New York, New York
         June 25, 2020

                                            ARIE GENGER
                                            By His Attorneys,
                                            TOGUT, SEGAL & SEGAL LLP
                                            By:

                                            /s/ Frank A. Oswald
                                            FRANK A. OSWALD
                                            JARED C. BORRIELLO
                                            TOGUT, SEGAL & SEGAL LLP
                                            One Penn Plaza, Suite 3335
                                            New York, New York 10119
                                            (212) 594-5000




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